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                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,                        )
                                                 )
      Plaintiff,                                 )       Case No. CR 06-99-S-BLW
                                                 )
v.                                               )       REPORT AND
                                                 )       RECOMMENDATION
ELIDIA VALENZUELA-PEREZ,                         )
                                                 )
     Defendant.                                  )
_____________________________________)

      On October 24, 2006 the above-named Defendant appeared before the undersigned

United States Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. Defendant executed a written waiver of the right to have the presiding United

States District Judge take his/her change of plea. Thereafter, the Court explained to

Defendant the nature of the charges, the maximum penalties applicable, his/her

constitutional rights, the effect of the Sentencing Guidelines, and that the District Judge

would not be bound by the agreement of the parties as to the penalty to be imposed.

      Having conducted the change of plea hearing and having inquired of Defendant and

his/her counsel, and counsel for the United States, the Court concludes that there is a

factual basis for Defendant’s plea of guilty, and that it was entered voluntarily and with

full knowledge of the consequences, and that the plea should be accepted.
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      Based upon the foregoing, this Court recommends that the District Court accept

Defendant’s plea of guilty to Counts One and Two of the Information and that Counts

One, Fourteen, Thirty-three, Thirty-seven, and Thirty-eight of the Indictment be

dismissed (as to this Defendant only).

                                                DATED: October 24, 2006.



                                                Honorable Larry M. Boyle
                                                Chief U. S. Magistrate Judge
